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10                             UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12
13    THE PEOPLE OF THE STATE OF               No. 3:17-cv-7106-SK
      CALIFORNIA,
14
                      Plaintiff,
15
              v.
16
      UNITED STATES DEPARTMENT OF
17    EDUCATION, et al.,
18                    Defendants.
19
20    MARTIN CALVILLO MANRIQUEZ, et al.,       No. 3:17-cv-7210-SK
21
                      Plaintiffs,
22                                             JOINT STATUS REPORT
              v.
23
      UNITED STATES DEPARTMENT OF
24    EDUCATION, et al.,

25                    Defendants.

26
27
28



     Joint Status Report
     3:17-cv-7106-SK; 3:17-cv-7210-SK
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 1          The parties hereby submit the following status report in response to the Court’s June 17,
 2   2024 order.
 3          As noted in prior reports, the parties are working towards a negotiated dismissal of the
 4   above-referenced litigation in light of the Department’s progress effectuating a group discharge
 5   for students who attended Corinthian Colleges, Inc. See ECF No. 379 (Calvillo Manriquez); ECF
 6   No. 186 (California). As noted in the Joint Status Report filed March 18, 2024, discharge data in
 7   that report and in prior Joint Status Reports was based on information reported to the Department
 8   by the servicers. Since March 18, 2024, the Department has worked to examine and verify the
 9   status of the Corinthian discharges reported by the servicers by cross-referencing records reported
10   in the National Student Loan Data System (NSLDS) and analyzing these records for indications
11   about the status of these discharges. As of August 1, 2024, that analysis suggests the following
12   information for borrowers determined eligible for relief as of July 25, 2022 (shortly after the
13   announcement of the Corinthian group discharge was made):
14
                                   8/1/2024 Analysis of NSLDS Data
15      CCI Borrowers who          86% have had their loans
        applied                    discharged
16      CCI Borrowers who          391,100 (= 74%)
17      did not apply

18
19           The parties continue their work preparing the documents necessary for dismissal, which

20   has included the sharing of drafts, and expect to request a conference with the Court to discuss

21   next steps once those documents are finalized. The parties believe that additional time would be

22   beneficial to allow them to continue their negotiations and respectfully request that the Court set a

23   further deadline for a status report by September 27, 2024.

24   Dated: August 15, 2024                             Respectfully submitted,

25                                                     BRIAN D. NETTER
                                                       Deputy Assistant Attorney General
26
                                                       MARCIA BERMAN
27                                                     Assistant Branch Director

28                                                     /s/ Stuart J. Robinson
                                                       STUART J. ROBINSON


     Joint Status Report
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     Joint Status Report
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